






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00654-CR






Hector Ruben Ronquillo, Appellant


v.


The State of Texas, Appellee






FROM COUNTY COURT AT LAW NO. 4 OF TRAVIS COUNTY

NO. D-1-DC-12-201835, HONORABLE MIKE DENTON, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Hector Ruben Ronquillo filed a notice of appeal from a judgment of conviction for
assault family violence.  See Tex. Penal Code Ann. § 22.01 (West 2011).  However, the trial court
certified that&nbsp;this is a plea bargain case and Ronquillo has no right of appeal.  Ronquillo and his
counsel signed the certification.

		The appeal is dismissed.  See Tex. R. App. P. 25.2(a)(2), (d).

		

						                                                                                     

						Jeff Rose, Justice

Before Chief Justice Jones, Justices Rose and Goodwin

Dismissed for Want of Jurisdiction

Filed:   October 24, 2012

Do Not Publish


